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                BEFORE THE UNITED STATES JUDICIAL PANEL
                     ON MULTIDISTRICT LITIGATION


IN RE: ORAL PHENYLEPHRINE                       MDL No. 3089
MARKETING AND SALES PRACTICES
LITIGATION


                       NOTICE OF APPEARANCE:
            SHORT CASE CAPTIONS AND PARTIES REPRESENTED

    Baughman v. Johnson & Johnson Consumer Inc., et al., No. 2:23-cv-07737 (C.D. Cal.)
        o Party represented: The Procter & Gamble Co.

    Pack, et al. v. Johnson & Johnson Consumer Companies, Inc., et al., No. 2:23-cv-01965
     (E.D. Cal.)
        o Party represented: The Procter & Gamble Co.

    DePaola v. The Procter & Gamble Company, et al., No. 2:23-cv-00727 (M.D. Fl.)
        o Party represented: The Procter & Gamble Co.

    Audelo v. Johnson & Johnson Consumer, Inc., et al., No. 3:23-cv-24250 (N.D. Fl.)
        o Party represented: The Procter & Gamble Co.

    Tlaib v. Procter & Gamble Company, No. 1:23-cv-13840 (N.D. Ill.)
         o Party represented: The Procter & Gamble Co.

    Noviskis v. Johnson & Johnson Consumer Inc., et al., No. 1:23-cv-13926 (N.D. Ill.)
        o Party represented: The Procter & Gamble Co.

    Juneau v. The Procter & Gamble Company, et al., No. 2:23-cv-05273 (E.D. La.)
        o Party represented: The Procter & Gamble Co.

    Fichera v. The Procter & Gamble Company, et al., No. 2:23-cv-05274 (E.D. La.)
        o Party represented: The Procter & Gamble Co.

    Coppock v. Procter & Gamble, et al., No. 2:23-cv-05353 (E.D. La.)
        o Party represented: The Procter & Gamble Co.

    Walker v. Johnson & Johnson Consumer Inc., et al., No. 4:23-cv-00663 (W.D. Mo.)
        o Party represented: The Procter & Gamble Co.

    Wright v. Johnson & Johnson Consumer Inc., et al., No. 5:23-cv-06120 (W.D. Mo.)
        o Party represented: The Procter & Gamble Co.



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   Barton, et al. v. Reckitt Benckiser LLC, et al., No 2:23-cv-20370 (D.N.J.)
       o Party represented: The Procter & Gamble Co.

   Cronin v. Johnson & Johnson Consumer, Inc., et al., No. 2:23-cv-06870 (E.D.N.Y.)
       o Party represented: The Procter & Gamble Co.

   Kleiman v. The Procter & Gamble Company, No. 1:23-cv-590 (S.D. Ohio)
       o Party represented: The Procter & Gamble Co.

   Thorns, et al. v. Johnson & Johnson, et al., No. 3:23-cv-1355 (D. Or.)
       o Party represented: The Procter & Gamble Co.

   Carrigan v. Johnson & Johnson, et al., No. 2:23-cv-01481 (W.D. Wash.)
       o Party represented: The Procter & Gamble Co.




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